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7                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF OREGON
8                                  MEDFORD DIVISION
9
     In re the Matter of J.P. and E.P.:
10                                                         Civil Action No. 1:24-cv-00648-AA
     ARNAUD PARIS,
11                                                         EXPARTE PETITIONER'S
                                 Petitioner,               EMERGENCY MOTION AND
12   and                                                   DECLARATION FOR CHILDREN
13                                                         WELLFARE CHECK AND DIRECT
     HEIDI MARIE BROWN,                                    UNSUPERVISED DAILY
14                                                         COMMUNICATION WITH
                                 Respondent.               FATHER
15

16

17

18          The Respondent, Heidi Brown, Mother just committed a child abduction in the
19
     middle of the school year in France and she has been refusing to disclose where the children
20
     were in the US and Father has had no information about their living condition, environment,
21
     schooling, or the other persons they are in contact with for over a month now.
22
23          Considering Mother's continued behavior to hide the children and to sever

24   completely the relationship of the children with Father for more than a month, the well-

25   being of the children physically and psychologically is in question. Especially as Mother has

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1
     a long history of manipulating the children and imposing psychological abuse and trauma
2

3    onto them.

4           The petitioner, Father, Arnaud Paris, moves for an emergency ex-parte order

5    permitting law enforcement to locate the children and social services to verify the living
6
     condition of the children, their well-being and their psychological stability and to ensure that
7
     there is no parental alienation taking place on the part of Mother.
8
            Father is also asking for unsupervised communication with the parties' children
9

10   during this Hague Action and for this Honorable Court to ensure that Mother isn't

11   manipulating the children, alienating them against their Father and adding further strong
12
     psychological trauma onto them in continuation to the abduction she just conducted from
13
     France taking the children on a fugitive escape run from Europe avoiding border controls.
14

15
16   DECLARATION FROM PETITIONER:

17          1.     On April 18th at 7.24pm PST Mother was in a car with the children and called

18   Father on the car speaker from a hidden number that's nother known number. Considering
19
     the time difference, it was 4.24am in France. The children were in the back of the car while
20
     Mother was front row to this discussion on car speaker as well. See attached Exhibit 04,
21
     showing the time Mother called in France on April 18th at 4.24am (France uses military
22

23   time) from an unknown number (''Numero masque" in French).

24          2.     Over the short 2mn phone communication of which only 15 seconds were
25   really communication between Father and his children, Eva and Juliette said twice: ''Dad

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1
     you have to do what mum says or she will get angry!". Which indicates that the children are
2

3    under some strong intimidation or even possibly a mental state of terror as a result from the

4    abduction. This also shows signs of parental alienation against Father on the part of Mother

5    who has documented history of using psychological pressure onto her children.
6
             3.    During this short phone call, Father asked if the children were safe and where
7
     they were since Father had had no news from Mother about the whereabouts of his children
8
     since they were kidnapped from France, except that they were back in the US. Mother
9

10   literally hang up the phone on Father in the middle of the discussion because of that.

11           4.    It is to be noted that Father had always been establishing proper contact in
12
     France between the children and their Mother, organizing calls several times a week and
13
     always at decent hours for Mother being on the West Coast of the US. Father has always let
14
     the communication from France happen in video with children being unsupervised. See
15

16
     attached Exhibit 10, testimony made on under oath French form from Keira Sumner, the

17   American AuPair who had been helping taking care of the children in Paris since November

18   23th till Mother kidnapped the children on April 8th.
19
             5.    Father sent an email on April 26th asking Mother to establish proper direct
20
     communication between him and the children at decent French hours on video calls without
21
     supervision. (See attached Exhibit 05, email sent to Miss Brown by Mr. Paris on April
22

23   26th)

24           6.    Mother didn't respond nor did she implement any proper communication
25   between Father and the children after that email, she continued with middle of the night

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1
     French time bad faith attempts to call father while he's asleep. (See attached Exhibit 06,
2

3    screenshot from Father's phone showing that Mother tried calling him in the middle of the

4    night in France on April 28 th at 4.33am and 4.34am)

5           7.     Father sent another email on May 1st asking Mother to establish proper direct
6
     communication between him and the children at decent French hours on video calls and
7
     without supervision from Mother. (See attached Exhibit 07, email sent to Miss Brown by
8
     Mr. Paris on May 1st)
9

10          8.     Mother didn't respond nor did she implement any proper communication

11   between Father and the children after that email. As can be seen in the attached Exhibit 08,
12
     email sent to Miss Brown by Mr. Paris on May 3rd •
13
            9.      Mother didn't respond nor did she implement any proper communication
14
     between Father and the children after that email, she continued with middle of the night
15

16   French time bad faith attempts to call father while he's asleep. (See attached Exhibit 09,

17   screenshot from Father's phone showing that Mother tried calling him in the middle of the

18   night in France on May 6th at 3.10am and 3.12am)
19
            I 0.   Father sent another email on May 11th asking Mother to establish proper
20
     direct communication between him and the children at decent French hours on video calls
21
     and without supervision from Mother. (See attached Exhibit 02, email sent to Miss Brown
22

23   by Mr. Paris on May 11th)

24          1I.    Father sent another email on May 14th asking Mother to establish proper
25   direct communication between him and the children at decent French hours on video calls

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1
     and without supervision from Mother. (See attached Exhibit 01, email sent to Miss Brown
2

3
     by Mr. Paris on May 11th)

4           12.     Mother didn't respond nor did she implement any proper communication

5    between Father and the children after that email, she continued with middle of the night
6
     French time bad faith attempts to call father while she knows very well he's asleep. Worse
7
     she is now clearly using these calls to tell the children, "Let's call your father", obviously
8
     you're not telling them that it's the middle of the night in France and that Father is asleep
9

10   unable to answer, and then she would tell them, "Oh look your father doesn't want to talk to

11   you... ". This type of parental alienation towards the children is unacceptable is extremely
12
     damaging to the children considering that Father was their main custodial parent for the last
13
     9 months continuously. See attached Exhibit 10, testimony made on under oath French
14
     form from Keira Sumner, the American AuPair who had been helping taking care of the
15

16   children in Paris since No'-;ember 23th till Mother kidnapped the children on April 8111.

17

18   STATEMENT AND POINTS OF AUTHORITIES:
19
     This court has the legal authority to grant Mr. Paris access to/visitation and to have
20
     unsupervised communication with the children.
21
     22 USC§ 900l(a)(4) states in pertinent part as follows:
22

23   "The Convention on the Civil Aspects ofInternational Child Abduction, done at The Hague

24   on October 25, 1980, establishes legal rights and procedures for the
25   prompt return ofchildren who have been wrongfully removed or retained; as well

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1
     as for securing the exercise of visitation rights. (Emphasis added.) "
2

3    Additionally, 22 USC§ 9004(a) states in pertinent part that:

4    "Infartherance ofthe objectives ofarticle 7(b) and other provisions ofthe Convention, and
5    subject to the provisions ofsubsection (b) of this section, any court exercising jurisdiction of
6
     an action brought under section 9003(b) ofthis title may take or cause to be taken measures
7
     under Federal or State law, as appropriate, to protect the well-being ofthe child
8
     involved[.J (Emphasis added.) "
9

10   Hague Convention Article 7(b) specifically provides for the fashioning of"provisional

11   remedies" to protect a child or avoid prejudice to "interested parties" such as the petitioner
12
     herein.
13
     This court has the legal authority to grant Mr. Paris that the children be located by Federal
14
     Law enforcement to protect the children, ensure about their physical and psychological well
15

16   being and to avoid any enduring prejudice to them such as parental alienation

17

18   CONCLUSION AND PRAYER FOR RELIEF:
19
               For the foregoing reasons, Mr. Paris, Father, Petitioner, seeks entry of an ex-parte
20
     expedited order instructing local Federal Law Enforcement to locate the Mother and the
21
     children and to have social services professionals conduct a welfare check of the children
22

23   and to conduct a psychological evaluation of the children to ensure that no parental

24   alienation is taking place considering the alarming behavior of Mother and her clear
25   efforts at damaging the reh1tionship between Father and the children.

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            Petitioner also request that this order establishes a direct line of communication
2

3    with the children without Mother's supervision. Father remains ready and anxious to

4    exercise continuous unsupervised daily communication with the children prior to the

5    expedited conclusion of this matter and asks that they each be given an apple watch each
6
     (cost to be shared jointly by Father and Mother) with parental control under Father's
7
     supervision to ensure that Mother isn't interfering with that communication and that a
8
     proper cell plan be activated by Mother on each of these watches (limited to communication
9

10   only with Father and Mother).

11                DATED this 14th day ofMay, 2024, in Paris, France
12                                                      Submitted by:
13                                                      Arnaud PARIS, Pro Per

14

15

16
                                                        13 rue Ferdinand Duval
                                                        75004 Paris, FRANCE
17                                                      +33 .6.88.28.36.41

18
                                          VERIFICATION
19

20         I, Arnaud Paris, declare under penalty of perjury under the laws of the United States
     of America that the foregoing is true and correct.
21
     SIGNED AND DATED this 14th day of May, 2024, in Paris, France.
22

23

24

25
                                         Arnaud Paris
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3                          CERTIFICATE OF SERVICE
4       I hereby certify that I served the foregoing EX PARTE PETITIONER'S EMERGENCY MOTION FOR
        CHILDREN WELFARE CHECK AND DIRECT UNSUPERVISE DAILY COMMUNICATION WITH
5       FATHER on the following party:

6                                Katelyn Skinner at kds@buckley-law.com
                                  Katrina Seipel at kas@buckley-law.com
7                                        Attorneys for Respondent

8    By the following method or methods:

            by mailing full, true, and correct copies thereof in sealed, first class postage
9
      prepaid envelopes, addressed to the attorneys(s} as shown above, the last known office address of
10    the attorney(s}, and deposited with the United States Postal Service at Portland, Oregon on the date
      set forth below.
11
      X     by emailing full, true, and correct copies thereof to the attorneys on record for Respondent
12    shown above, which is the last known email address for the respondent's attorneys on the date set
      forth below.
13
     _ _ by faxing full, true, and correct copies thereof to the attorney(s) at the fax number(s}
14   shown above, which is the last known fax number for the attorney(s) office, on the date set forth
     below. The receiving fax machines were operating at the time of service and the transmission was
15   properly completed.

16            by selecting the individual(s} listed above as a service contact when preparing this electronic
      filing submission, thus causing the individual(s} to be served by means of the court's electronic filing
17    system.
18                 DATED this 14th day of May, 2024, in Paris, France.

19

20
                //,~~
     By:_~
21   ARNAUD PARIS, Petitioner

22   ARNAUD PARIS
     13 rue Ferdinand Duval
23   75004, PARIS, FRANCE
     Telephone: +33688283641 •
     Email: aparis@sysmicfilms.com
24

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